Case 1:17-cv-01475-AJT-JFA Document 11 Filed 04/17/18 Page 1 of 1 PageID# 56




                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION


STRIKE 3 HOLDINGS, LLC,                         )
                                                )
       Plaintiff,                               )   Civil Case No. 1:17-cv-01475-AJT-JFA
                                                )
v.                                              )
                                                )
JOHN DOE subscriber assigned IP address         )
71.62.173.224,                                  )
                                                )
       Defendant.                               )
                                                )

                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                           WITH PREJUDICE OF JOHN DOE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Strike 3 Holdings,

LLC hereby gives notice that its claims in this action against Defendant John Doe, subscriber

assigned IP address 71.62.173.224, are voluntarily dismissed with prejudice.


       Dated: April 17, 2018                        Respectfully submitted,


                                                    /s/ Jessica Haire
                                                    Jessica Haire, Esq.
                                                    Va. Bar No. 82513
                                                    Attorney for Strike 3 Holdings, LLC
                                                    Fox Rothschild LLP
                                                    1030 15th Street, NW
                                                    Suite 380E
                                                    Washington, DC 20005
                                                    Phone: 202-461-3109
                                                    Fax: 202-461-3102
                                                    jhaire@foxrothschild.com



                                                1
